                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MISSOURI
                          WESTERN DISTRICT

UNITED STATES OF AMERICA,                )
                                         )
                           Plaintiff,    )
                                         )
      vs.                                ) Case No. 4:18-cr-00293-DGK
                                         )
TREVOR SPARKS,                           )
                                         )
                           Defendant,    )


   DEFENDANT TREVOR SPARKS’ MOTION FOR DISCLOSURE OF
   GRAND JURY TRANSCRIPTS AND MEMORANDUM IN SUPPORT

      Defendant Trevor Sparks, by and through undersigned counsel, respectively

moves the Court, pursuant to Rules 6(e) and 26 of the Federal Rules of Criminal

Procedure and the Sixth Amendment to the United States Constitution, for an

order permitting the Defendant to inspect the transcripts of the Grand Jury for

testimony of all witnesses who testified which he anticipates may be called as

Government witnesses in the trial of this matter. In support of this motion,

Defendant states the following.

      Understandably, “[i]t has long been recognized that the proper functioning

of our grand jury system depends upon the secrecy of grand jury proceedings. This

principle is reflected in Rule 6(e) which establishes a general rule of

confidentiality for all matters occurring before the grand jury.” United States v.

McDougal, 559 F.3d 837, 840 (8th Cir. 2009) (quotation and citation omitted).

However, “[e]xceptions to the rule of nondisclosure will be made only where there

                                        1

    Case 4:18-cr-00293-DGK Document 671 Filed 09/15/22 Page 1 of 5
is a ‘particularized need.’” United States v. Haire, 103 F.3d 697, 699 (8th Cir.

1996); accord United States v. Broyles, 37 F.3d 1314, 1318 (8th Cir. 1994)

         Based upon a review of the discovery provided to defense counsel to date,

it appears that there may be confidential informants, cooperating individuals, or

cooperating witnesses who have provided information to the Grand Jury that

returned the indictment who either testified before the Grand Jury or whose

testimony was summarized by law enforcement agents who testified before the

Grand Jury.

         Defendant Sparks is charged in the third superseding indictment with

several charges including Continuing Criminal Enterprise with known and

unidentified individuals. Rule 16(a)(1) of the Federal Rules of Criminal Procedure

entitles a defendant to a transcript of his or her own Grand Jury testimony.

Defendant did not testify before the Grand Jury, however, it is respectfully

suggested that the testimony of his unidentified co-conspirators, government

informants, and cooperating witnesses should be made available to him

sufficiently in advance of the trial herein to allow him to (1) identify the

unidentified co-conspirators referred to in the indictment; (2) prepare a defense to

their allegations and to prepare to confront said individuals; and (3) to cross-

examine their testimony in a knowing, intelligent, and meaningful manner. As

noted in the Sixth Amendment to the United States Constitution, it provides in part

that:



                                         2

        Case 4:18-cr-00293-DGK Document 671 Filed 09/15/22 Page 2 of 5
       “In all criminal prosecutions, the accused shall enjoy the right…to
       be confronted with the witnesses against him; to have compulsory
       process for obtaining witness in his favor, and to have the assistance
       of counsel for his defense.”

How can the defendant confront, cross-examine, and dispute the Government’s

contention that he and the alleged, unidentified co-conspirators were involved in

the alleged conspiracy without knowing who they are? He cannot, and the inability

to do so is highly prejudicial.

       Under Rule 26.2 of the Federal Rules of Criminal Procedure, a defendant is

entitled to the Grand Jury transcripts of those prosecution witnesses who testify at

trial. While the defendant recognizes that the general practice has been to withhold

the production of Grand Jury minutes until such time as a government witness has

testified, the Defendant would respectfully suggest that in the instant case, such a

practice is impracticable and would be counterproductive to his counsel’s

preparation to cross-examine and confront the witnesses against him. Obviously, if

the normal practice is followed in the instant case, this will make what is already

anticipated to be a lengthy trial even longer and will certainly frustrate judicial

economy and further inconvenience the jury. This will further deny the Defendant

his right to ascertain whether or not the Grand Jury members who indicted him

were provided with information by the Government regarding the identity of the

unidentified co-conspirators and the compensation or other consideration, if any,

extended to each by the Government. Such information clearly reflects on said

witnesses’ credibility and should be considered as exculpatory.


                                         3

     Case 4:18-cr-00293-DGK Document 671 Filed 09/15/22 Page 3 of 5
      The investigative reports appear to clearly establish that one or more

cooperating individuals or confidential informants actively participated in the

Government’s    investigation,   and/or   provided   information   regarding   the

Defendant’s activities. It is undersigned counsel’s belief and understanding that

some, if not all, of the unidentified co-conspirators and cooperating individuals

have entered into agreements with the Government in which they have received or

will receive substantial considerations or other benefits in return for their

cooperating and testimony against the Defendant.

      Defendant would respectfully submit that he should be allowed to inspect

the Grand Jury transcripts to determine what all considerations the witnesses were

given, and the identities and testimony of all unidentified co-conspirators and

cooperating individuals. Since this determination cannot be made from the

information and documents previously provided by the Government during the

course of pretrial discovery, Defendant would respectfully suggest that the only

way to make such a determination is by examining the evidence presented to the

Grand Jury regarding the facts and circumstances surrounding the occurrences

which form the basis for the “criminal enterprise” and who the alleged

unidentified witnesses were.

      WHEREFORE Defendant Sparks respectfully moves this Court for an

order compelling disclosure of the Grand Jury transcripts.




                                          4

    Case 4:18-cr-00293-DGK Document 671 Filed 09/15/22 Page 4 of 5
                                       Respectfully submitted,



                                       /s/ F.A. “Al” White, Jr.
                                       F.A. White, Jr., MO 22565
                                       7924 N. Cherry, St.
                                       Kansas City, MO 64118
                                       816-454-5300
                                       ATTORNEY FOR DEFENDANT


                       CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the above and foregoing
was electronically filed with the Court this 15th day of September, 2022.

                                       /s/ F.A. “Al” White, Jr.
                                       F.A. White, Jr.




                                      5

    Case 4:18-cr-00293-DGK Document 671 Filed 09/15/22 Page 5 of 5
